                                              18-11358-mew         Doc 6      Filed 05/08/18 Entered 05/08/18 02:14:12               Main Document
Relativity Media, LLC                                                                      Pg 1 of 10                                                                                 Case number 18-11358



  Fill in this information to identify the case:
    Debtor name: Relativity Media, LLC                                                                                                                           □ Check if this is an amended filing
    United States Bankruptcy Court for the Southern District of New York
    Case number: 18-11358



  Official Form 204

  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders                                                                           12/15

  A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or

  Name of creditor and complete mailing       Name, telephone number, and email            Nature of the           Indicate if claim is   Amount of unsecured claim
  address, including zip code                 address of creditor contact                  claim(for example,      contingent,            If the claim is fully unsecured, fill in only unsecured claim
                                                                                           trade debts, bank       unliquidated, or       amount. If claim is partially secured, fill in total claim
                                                                                           loans, professional     disputed               amount and deduction for value of collateral or setoff to
                                                                                           services, and                                  calculate unsecured claim.
                                                                                           government contracts)

                                                                                                                                            Total claim, if       Deduction for value of        Unsecured
                                                                                                                                           partially secured       collateral or setoff             Claim
                                              Carat USA
      Carat USA
                                              Scott Hughes
      Scott Hughes
  1                                           PHONE: 917-326-7676                          Trade                   Contingent                            $0.00                               $10,661,144.68
      2700 Pennsylvania Ave 2nd Floor
                                              FAX:
      Santa Monica, CA 90404
                                              EMAIL: scott.hughes@dentsuaegis.com
                                              Jones Day
      Jones Day
                                              Todd Geremia
      Todd Geremia
  2                                           PHONE: 212.326.3429                          Professional Services                                         $0.00                                $8,157,483.64
      250 Vesey Street
                                              FAX: 212.755.7306
      New York, NY 10281-1047
                                              EMAIL: trgeremia@jonesday.com
      RED                                     RED
      Kevin McDonald                          Kevin McDonald
  3   c/o EuropaCorp USA                      PHONE: 310-205-0255                          Trade                   Disputed                              $0.00                                $6,270,751.50
      345 N Maple Dr. Ste. 123                FAX:
      Beverly Hills, CA 90210                 EMAIL: kmcdonald@europacorp.com
                                              Heatherden Securities LLC
      Heatherden Securities LLC
                                              David Miller
      David Miller
  4                                           PHONE: 212-974-6000                          Professional Services                                         $0.00                                $5,844,000.00
      40 West 57Th St.
                                              FAX:
      New York, NY 10019
                                              EMAIL: Keith.Wofford@ropesgray.com




Official Form 204                                          Chapter 11 Case: List of Creditors Who Have the 50 Largest Unecured Claims                                                                     Page 1
                                                   18-11358-mew          Doc 6          Filed 05/08/18 Entered 05/08/18 02:14:12             Main Document
Relativity Media, LLC                                                                                Pg 2 of 10                                                                              Case number 18-11358
  Name of creditor and complete mailing            Name, telephone number, and email               Nature of the           Indicate if claim is   Amount of unsecured claim
  address, including zip code                      address of creditor contact                     claim(for example,      contingent,            If the claim is fully unsecured, fill in only unsecured claim
                                                                                                   trade debts, bank       unliquidated, or       amount. If claim is partially secured, fill in total claim
                                                                                                   loans, professional     disputed               amount and deduction for value of collateral or setoff to
                                                                                                   services, and                                  calculate unsecured claim.
                                                                                                   government contracts)

                                                                                                                                                    Total claim, if      Deduction for value of        Unsecured
                                                                                                                                                   partially secured      collateral or setoff             Claim
                                                   Skadden, Arps, Slate, Meagher & Flom LLP
      Skadden, Arps, Slate, Meagher & Flom LLP
                                                   Van C. Durrer, II
      Van C. Durrer, II
  5                                                PHONE: 213.687.5200                             Professional Services                                         $0.00                               $3,856,031.00
      300 S. Grand Ave., Suite 3400
                                                   FAX: 213.621.5200
      Los Angeles, CA 90071
                                                   EMAIL: van.durrer@skadden.com

      Ryan Kavanaugh
                                                                                                   Former Employee
  6   Address on file                                                                                                      Disputed                              $0.00                               $3,762,244.00
                                                                                                   Compensation


                                                   Sheppard, Mullin, Richter & Hampton LLP
      Sheppard, Mullin, Richter & Hampton LLP
                                                   David Sunkin
      David Sunkin
  7                                                PHONE: 213.617.4252                             Professional Services                                         $0.00                               $3,383,887.77
      333 South Hope Street, 43rd Floor
                                                   FAX: 213.443.2750
      Los Angeles, CA 90071-1422
                                                   EMAIL: dsunkin@sheppardmullin.com

      Kasima LLC
      Attention: Chief Executive Officer           Kasima LLC
      c/o Digital Cinema Implementation            Attention: Chief Executive Officer
                                                                                                                           Contingent and
  8   Partners, LLC                                PHONE:                                          Trade                                                         $0.00                               $2,747,350.00
                                                                                                                           Unliquidated
      One International Blvd.                      FAX: 201-252-4215
      9th Floor                                    EMAIL:
      Mahwah, NJ 07495
      Adam Fields
                                                   Adam Fields
      c/o Gregory P. Korn
                                                   c/o Gregory P. Korn
      Kinsella Weitzman Iser Kump & Aldisert LLP
  9                                                PHONE: 310-566-9807                             Litigation              Unliquidated                          $0.00                               $2,560,073.30
      808 Wilshire Boulevard
                                                   FAX: 310-566-9877
      Third Floor
                                                   EMAIL: gkorn@kwikalaw.com
      Santa Monica, CA 90401
     Macquarie                                     Macquarie
     c/o Samuel A. Newman                          c/o Samuel A. Newman
  10 Gibson, Dunn & Crutcher LLP                   PHONE: 213.229.7644                             Professional Services                                         $0.00                               $2,219,420.71
     333 South Grand Avenue                        FAX: 213.229.6644
     Los Angeles, CA 90071-3197                    EMAIL: snewman@gibsondunn.com




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                                                  18-11358-mew           Doc 6      Filed 05/08/18 Entered 05/08/18 02:14:12             Main Document
Relativity Media, LLC                                                                            Pg 3 of 10                                                                              Case number 18-11358
  Name of creditor and complete mailing           Name, telephone number, and email            Nature of the           Indicate if claim is   Amount of unsecured claim
  address, including zip code                     address of creditor contact                  claim(for example,      contingent,            If the claim is fully unsecured, fill in only unsecured claim
                                                                                               trade debts, bank       unliquidated, or       amount. If claim is partially secured, fill in total claim
                                                                                               loans, professional     disputed               amount and deduction for value of collateral or setoff to
                                                                                               services, and                                  calculate unsecured claim.
                                                                                               government contracts)

                                                                                                                                                Total claim, if      Deduction for value of        Unsecured
                                                                                                                                               partially secured      collateral or setoff             Claim
     Litigation Trust                             Litigation Trust
     c/o Togut Segal                              Frank A. Oswald
     Frank A. Oswald                              PHONE: 212-594-5000
  11                                                                                           Professional Services                                         $0.00                               $1,970,000.00
     One Penn Plaza                               FAX: 212-967-4258
     Suite 3335                                   EMAIL:
     New York, NY 10119                           frankoswald@teamtogut.com
                                                  HYFN, Inc.
     HYFN, Inc.
                                                  Attention President or General Counsel
     Attention President or General Counsel                                                                            Contingent and
  12                                              PHONE: 310-971-9300                          Trade                                                         $0.00                               $1,945,394.86
     1235 Hermosa Ave. Ste. 300                                                                                        Unliquidated
                                                  FAX:
     Hermosa Beach, CA 90254
                                                  EMAIL:
     Cinedigm Digital Cinema Corp                 Cinedigm Digital Cinema Corp
     Gregory S. Loffredo                          Gregory S. Loffredo
                                                                                                                       Contingent and
  13 902 Broadway                                 PHONE: 424 281 5400                          Trade                                                         $0.00                               $1,668,543.00
                                                                                                                       Unliquidated
     9th Floor                                    FAX:
     New York, NY 10010                           EMAIL: gloffredo@cinedigm.com
     US Trustee                                   US Trustee
     Serene K. Nakano                             Serene K. Nakano
  14 Office of United States Trustee SDNY         PHONE: (212) 668-2255                        US Trustee Fees         Contingent                            $0.00                               $1,320,000.00
     201 Varick Street                            FAX: (212) 510-0500
     New York, NY 10014                           EMAIL: serene.nakano@usdoj.gov
     Left Behind Investments                      Left Behind Investments
     Attention President or General Counsel       Attention President or General Counsel
  15 1 St. Paul Street Suite 701                  PHONE:                                       Trade                                                         $0.00                               $1,052,473.00
     St. Catharines, ON L2R 7L                    FAX:
     Canada                                       EMAIL: scott@ollawood.com

     Carol Genis
                                                                                               Former Employee
  16 Address on file                                                                                                                                         $0.00                               $1,007,308.00
                                                                                               Compensation


     International Alliance of Theatrical Stage   International Alliance of Theatrical Stage
     Employees (IATSE)                            Employees (IATSE)
     Joe Kohanski                                 Joe Kohanski
  17 c/o Bush Gottlieb                            PHONE: 818-973-3253                          Trade                                                         $0.00                                 $940,956.00
     801 N. Brand Blvd                            FAX: 818-973-3201
     Suite 950                                    EMAIL:
     Glendale, CA 91203                           jkohanski@bushgottlieb.com



Official Form 204                                               Chapter 11 Case: List of Creditors Who Have the 50 Largest Unecured Claims                                                                    Page 3
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Relativity Media, LLC                                                                   Pg 4 of 10                                                                               Case number 18-11358
  Name of creditor and complete mailing   Name, telephone number, and email            Nature of the           Indicate if claim is   Amount of unsecured claim
  address, including zip code             address of creditor contact                  claim(for example,      contingent,            If the claim is fully unsecured, fill in only unsecured claim
                                                                                       trade debts, bank       unliquidated, or       amount. If claim is partially secured, fill in total claim
                                                                                       loans, professional     disputed               amount and deduction for value of collateral or setoff to
                                                                                       services, and                                  calculate unsecured claim.
                                                                                       government contracts)

                                                                                                                                        Total claim, if      Deduction for value of        Unsecured
                                                                                                                                       partially secured      collateral or setoff             Claim
     Dana Brunetti                        Dana Brunetti
     c/o Don Steele                       c/o Don Steele
  18 450 N. Roxbury Drive                 PHONE: 310-248-3114                          Employee                                                      $0.00                                 $906,277.00
     8th Floor                            FAX: 310-276-8310
     Beverly Hills, CA 90210-4222         EMAIL: ds@hjth.com
                                          Togut, Segal & Segal LLP
     Togut, Segal & Segal LLP
                                          Frank A. Oswald
     Frank A. Oswald
                                          PHONE: 212-594-5000
  19 One Penn Plaza                                                                    Professional Services                                         $0.00                                 $891,284.13
                                          FAX: 212-967-4258
     Suite 3335
                                          EMAIL:
     New York, NY 10119
                                          frankoswald@teamtogut.com
     Black White, LLC                     Black White, LLC
     Attention: Jasa McCall               Attention: Jasa McCall
  20 C/O TREEHOUSE FILMS, LLC             PHONE:                                       Trade                                                         $0.00                                 $779,342.00
     4450 LAKESIDE DRIVE, STE.225         FAX:
     BURBANK, CA 91505                    EMAIL: Jasa@treehousefilms.net
     Browne George Ross, LLP              Browne George Ross, LLP
     Eric George                          Eric George
  21 2121 Avenue of the Stars             PHONE: 310.274.7100                          Professional Services   Disputed                              $0.00                                 $536,855.37
     Suite 2800                           FAX: 310.275.5697
     Los Angeles, CA 90067                EMAIL: egeorge@bgrfirm.com
     Alvarez & Marsal                     Alvarez & Marsal
     Hamish Allanson                      Hamish Allanson
  22 540 West Madison Street              PHONE: 312 601 4220                         Professional Services                                          $0.00                                 $526,295.94
     Suite 1800                           FAX: 312 332 4599
     Chicago, IL 60661                    EMAIL: hamish.allanson@alvarezandmarsal.com

     Guild's Counsel                      Guild's Counsel
     Joe Kohanski                         Joe Kohanski
     c/o Bush Gottlieb                    PHONE: 818-973-3253
  23                                                                                   Professional Services   Unliquidated                          $0.00                                 $500,000.00
     801 N. Brand Blvd                    FAX: 818-973-3201
     Suite 950                            EMAIL:
     Glendale, CA 91203                   jkohanski@bushgottlieb.com
                                          Fishbowl, LLC
     Fishbowl, LLC
                                          Attention: James W. Hale
     Attention: James W. Hale
  24                                      PHONE: 310-550-1111                          Trade                                                         $0.00                                 $464,149.00
     751 Fairfax Ave.
                                          FAX:
     Los Angeles, CA 90046
                                          EMAIL: jim@fishbowlfilms.net


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Relativity Media, LLC                                                                         Pg 5 of 10                                                                                  Case number 18-11358
  Name of creditor and complete mailing          Name, telephone number, and email              Nature of the           Indicate if claim is   Amount of unsecured claim
  address, including zip code                    address of creditor contact                    claim(for example,      contingent,            If the claim is fully unsecured, fill in only unsecured claim
                                                                                                trade debts, bank       unliquidated, or       amount. If claim is partially secured, fill in total claim
                                                                                                loans, professional     disputed               amount and deduction for value of collateral or setoff to
                                                                                                services, and                                  calculate unsecured claim.
                                                                                                government contracts)

                                                                                                                                                 Total claim, if      Deduction for value of        Unsecured
                                                                                                                                                partially secured      collateral or setoff             Claim
                                                 Deluxe Digital Cinema, Inc.
     Deluxe Digital Cinema, Inc.
                                                 Attention President or General Counsel
     Attention President or General Counsel
  25                                             PHONE:                                         Trade                                                         $0.00                                 $451,824.45
     File #56477
                                                 FAX:
     Los Angeles, CA 90074
                                                 EMAIL:

     Regal Entertainment Group - Attn: Film      Regal Entertainment Group - Attn: Film Division
     Division                                    Attention: Robert Engel
  26 Attention: Robert Engel                     PHONE: 865-925-9412                             Trade                                                        $0.00                                 $384,500.00
     P.O. Box 844360                             FAX:
     Los Angeles, CA 90084                       EMAIL: Bob.Engel@regalcinemas.com

                                                 Workshop Creative LLC
     Workshop Creative LLC
                                                 Attention: Robert Myers
     Attention: Robert Myers
  27                                             PHONE: XXX-XX-XXXX                             Trade                                                         $0.00                                 $383,782.50
     9006 Melrose Ave
                                                 FAX:
     West Hollywood, CA 90069
                                                 EMAIL: robm@workshopcreative.net

     Ken Halsband
  28 Address on file                                                                            Employee                                                      $0.00                                 $350,769.00



     Robert Keach                                Robert Keach
     c/o Bernstein Shur                          c/o Bernstein Shur
  29 100 Middle Street                           PHONE: 207 228-7334                            Professional Services                                         $0.00                                 $315,646.47
     PO Box 9729                                 FAX: 207 774-1127
     Portland, ME 04104-5029                     EMAIL: rkeach@bernsteinshur.com

                                                 GDC Digital Cinema Network (USA), LLC
     GDC Digital Cinema Network (USA), LLC
                                                 Jason Shin
     Jason Shin                                                                                                         Contingent and
  30                                             PHONE: 818-824-6440                            Trade                                                         $0.00                                 $312,469.00
     1016 West Magnolia Blvd.                                                                                           Unliquidated
                                                 FAX: 877-643-2872
     Burbank, CA 91506
                                                 EMAIL: jason.shin@gdc-tech.com
                                                 Cinedigm Digital Cinema Corp dba Pavilion
     Cinedigm Digital Cinema Corp dba Pavilion
                                                 Theatre
     Theatre
                                                 Attention President or General Counsel                                 Contingent and
  31 Attention President or General Counsel                                                     Trade                                                         $0.00                                 $291,666.00
                                                 PHONE:                                                                 Unliquidated
     55 Madison Ave. Suite 300
                                                 FAX:
     Morristown, NJ 07960
                                                 EMAIL:


Official Form 204                                             Chapter 11 Case: List of Creditors Who Have the 50 Largest Unecured Claims                                                                       Page 5
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Relativity Media, LLC                                                                         Pg 6 of 10                                                                              Case number 18-11358
  Name of creditor and complete mailing        Name, telephone number, and email            Nature of the           Indicate if claim is   Amount of unsecured claim
  address, including zip code                  address of creditor contact                  claim(for example,      contingent,            If the claim is fully unsecured, fill in only unsecured claim
                                                                                            trade debts, bank       unliquidated, or       amount. If claim is partially secured, fill in total claim
                                                                                            loans, professional     disputed               amount and deduction for value of collateral or setoff to
                                                                                            services, and                                  calculate unsecured claim.
                                                                                            government contracts)

                                                                                                                                             Total claim, if      Deduction for value of        Unsecured
                                                                                                                                            partially secured      collateral or setoff             Claim
                                               Taft Stettinius & Hollister LLP
     Taft Stettinius & Hollister LLP
                                               Jack J. Hagerty
     Jack J. Hagerty
  32                                           PHONE: (312) 836-4055                        Professional Services   Contingent                            $0.00                                 $256,308.94
     111 East Wacker Suite 2800
                                               FAX: (312) 966-8481
     Chicago, IL 60601
                                               EMAIL: jhagerty@taftlaw.com
                                               QNO, LLC
     QNO, LLC
                                               Hamish Allanson
     Hamish Allanson
  33                                           PHONE:                                       Trade                   Disputed                              $0.00                                 $250,000.00
     11401 Chalon Rd.
                                               FAX:
     Los Angeles, CA 90049
                                               EMAIL:
     Story Pictures                            Story Pictures
     Brent Almond                              Brent Almond
  34 23852 Pacific Coast Highway               PHONE: 310-788-0021                          Trade                   Disputed                              $0.00                                 $250,000.00
     Suite 465                                 FAX:
     Malibu, CA 90265                          EMAIL:
                                               Buddha Jones
     Buddha Jones
                                               Attention President or General Counsel
     Attention President or General Counsel
  35                                           PHONE: 323-962-5100                          Trade                                                         $0.00                                 $248,350.00
     1714 Ivar Ave
                                               FAX:
     Hollywood, CA 90028
                                               EMAIL: marinam@buddha-jones.com
     Screen Actors Guild (SAG)                 Screen Actors Guild (SAG)
     Joe Kohanski                              Joe Kohanski
     c/o Bush Gottlieb                         PHONE: 818-973-3253
  36                                                                                        Trade                                                         $0.00                                 $239,610.00
     801 N. Brand Blvd                         FAX: 818-973-3201
     Suite 950                                 EMAIL:
     Glendale, CA 91203                        jkohanski@bushgottlieb.com

     American Film Market & Conference (AFM)   American Film Market & Conference (AFM)
     Joe Kohanski                              Joe Kohanski
     c/o Bush Gottlieb                         PHONE: 818-973-3253
  37                                                                                        Trade                                                         $0.00                                 $208,563.00
     801 N. Brand Blvd                         FAX: 818-973-3201
     Suite 950                                 EMAIL:
     Glendale, CA 91203                        jkohanski@bushgottlieb.com




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Relativity Media, LLC                                                                        Pg 7 of 10                                                                              Case number 18-11358
  Name of creditor and complete mailing        Name, telephone number, and email           Nature of the           Indicate if claim is   Amount of unsecured claim
  address, including zip code                  address of creditor contact                 claim(for example,      contingent,            If the claim is fully unsecured, fill in only unsecured claim
                                                                                           trade debts, bank       unliquidated, or       amount. If claim is partially secured, fill in total claim
                                                                                           loans, professional     disputed               amount and deduction for value of collateral or setoff to
                                                                                           services, and                                  calculate unsecured claim.
                                                                                           government contracts)

                                                                                                                                            Total claim, if      Deduction for value of        Unsecured
                                                                                                                                           partially secured      collateral or setoff             Claim
                                               Drinker Biddle
     Drinker Biddle
                                               Robert K. Malone
     Robert K. Malone
  38                                           PHONE: (973) 549-7080                       Professional Services                                         $0.00                                 $200,045.95
     600 Campus Dr.
                                               FAX: (973) 360-9831
     Florham Park, NJ 07932-1047
                                               EMAIL: robert.malone@dbr.com
                                               Kasowitz, Benson, Torres & Friedman LLP
     Kasowitz, Benson, Torres & Friedman LLP
                                               Andrew Glenn
     Andrew Glenn
  39                                           PHONE: (212) 506-1747                       Professional Services                                         $0.00                                 $196,192.90
     1633 Broadway
                                               FAX: (212) 506-1800
     New York, NY 10019
                                               EMAIL: aglenn@kasowitz.com
                                               Viacom
     Viacom
                                               Christa A. D'Alimonte
     Christa A. D'Alimonte
  40                                           PHONE: 212-258-6000                         Trade                                                         $0.00                                 $192,968.20
     1515 Broadway
                                               FAX:
     New York, NY 10036
                                               EMAIL: christa.d' alimonte@viacom.com
                                               Christie Digital Systems USA
     Christie Digital Systems USA              John M. Kline and Richard Wallace
     John M. Kline and Richard Wallace         PHONE: 714-236-8610                                                 Contingent and
  41                                                                                       Trade                                                         $0.00                                 $184,320.00
     10550 Camden Drive                        FAX: 714-503-3385                                                   Unliquidated
     Cypress, CA 90630                         EMAIL: Jack.Kline@christiedigital.com;
                                               Richard.Wallace@christiedigital.com

     Concept Arts Studios, Inc.                Concept Arts Studios, Inc.
     Attention President or General Counsel    Attention President or General Counsel
  42 4201 Wilshire Blvd                        PHONE: 323-461-3696                         Trade                                                         $0.00                                 $150,000.00
     5th Floor                                 FAX:
     Los Angeles, CA 90010                     EMAIL: frontdesk@conceptarts.com

     Reid Rogers
  43 Address on file                                                                       Employee                                                      $0.00                                 $143,077.00



     Brett Dahl
  44 Address on file                                                                       Employee                                                      $0.00                                 $143,077.00




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Relativity Media, LLC                                                                      Pg 8 of 10                                                                              Case number 18-11358
  Name of creditor and complete mailing       Name, telephone number, and email          Nature of the           Indicate if claim is   Amount of unsecured claim
  address, including zip code                 address of creditor contact                claim(for example,      contingent,            If the claim is fully unsecured, fill in only unsecured claim
                                                                                         trade debts, bank       unliquidated, or       amount. If claim is partially secured, fill in total claim
                                                                                         loans, professional     disputed               amount and deduction for value of collateral or setoff to
                                                                                         services, and                                  calculate unsecured claim.
                                                                                         government contracts)

                                                                                                                                          Total claim, if      Deduction for value of        Unsecured
                                                                                                                                         partially secured      collateral or setoff             Claim

                                              National Research Group, Inc dba NRG
     National Research Group, Inc dba NRG
                                              Attention President or General Counsel
     Attention President or General Counsel
  45                                          PHONE: 323-406-6200                        Trade                                                         $0.00                                 $140,250.00
     5780 W Jefferson
                                              FAX:
     Los Angeles, CA 90016
                                              EMAIL: inquiry@nrgmr.com


     Mob Scene LLC                            Mob Scene LLC
     Attention President or General Counsel   Attention President or General Counsel
  46 5750 Wilshire Blvd                       PHONE: 323-648-7200                        Trade                                                         $0.00                                 $129,533.50
     Suite 530                                FAX:
     Los Angeles, CA 90036                    EMAIL: brett.abbey@mobscene.com

                                              Allied Integrated Marketing
     Allied Integrated Marketing
                                              Attention President or General Counsel
     Attention President or General Counsel
  47                                          PHONE:                                     Trade                                                         $0.00                                 $126,790.62
     55 Cambridge Parkway, Ste.200
                                              FAX: 617-292-7900
     Cambridge, MA 02142
                                              EMAIL: jmatzkin@psh.com

                                              Market Force Information Inc
     Market Force Information Inc
                                              Attention: CMS AR
     Attention: CMS AR
  48                                          PHONE: 303-536-1924                        Trade                                                         $0.00                                 $121,343.60
     Post Office Box 270355
                                              FAX: 303.402.6915
     Louisville, CO 80027
                                              EMAIL:
                                              Technicolor Creative Services USA Inc.
     Technicolor Creative Services USA Inc.
                                              Attention President or General Counsel
     Attention President or General Counsel
  49                                          PHONE: 818-500-9090                        Trade                                                         $0.00                                 $120,255.75
     1631 Gardena Avenue
                                              FAX: 818-500-4099
     Glendale, CA 91204
                                              EMAIL:
                                              Sony Electronics Inc
     Sony Electronics Inc
                                              Esperanza Mendez
     Esperanza Mendez
  50                                          PHONE: 858-942-8503                        Trade                                                         $0.00                                 $113,700.00
     16530 Via Esprillo
                                              FAX: 858-942-8186
     San Diego, CA 92127
                                              EMAIL: esperanza.mendez@am.sony.com




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                                          Pg 9 of 10



                    DECLARATION UNDER PENALTY OF PERJURY

       I, the undersigned authorized and designated signatory for the limited liability companies

named as the debtors in attached Schedule A (the “Debtors”), declare under penalty of perjury

that, upon a review of the Debtors’ books and records, I have a reasonable belief that the

consolidated list of the Debtors’ top 50 general unsecured creditors is true and correct.


                                                  By: /s/ Colin M. Adams
                                                Name: Colin M. Adams
                                                 Title: Chief Restructuring Officer
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                                             SCHEDULE A

                                             List of Debtors

Entity                                 Case Number        Entity                                Case Number
Relativity Fashion, LLC                18-11291           RML Acquisitions I, LLC               18-11329
RML Distribution Domestic, LLC         18-11292           RML Acquisitions II, LLC              18-11330
Rogue Digital, LLC                     18-11301           RML Acquisitions III, LLC             18-11331
3 Days to Kill Productions, LLC        18-11302           RML Acquisitions IV, LLC              18-11332
21 & Over Productions, LLC             18-11304           RML Acquisitions IX, LLC              18-11333
Armored Car Productions, LLC           18-11305           RML Acquisitions V, LLC               18-11334
Best of Me Productions, LLC            18-11306           RML Acquisitions VI, LLC              18-11335
Black or White Films, LLC              18-11307           RML Acquisitions VII, LLC             18-11336
Blackbird Productions, LLC             18-11308           RML Acquisitions VIII, LLC            18-11337
Brick Mansions Acquisitions, LLC       18-11309           RML Acquisitions X, LLC               18-11338
Don Jon Acquisitions, LLC              18-11310           RML Acquisitions XI, LLC              18-11339
DR Productions, LLC                    18-11311           RML Acquisitions XIII, LLC            18-11340
Furnace Films, LLC                     18-11312           RML Desert Films, LLC                 18-11341
Malavita Productions, LLC              18-11313           RML Distribution International, LLC   18-11342
Movie Productions, LLC                 18-11314           RML Echo Films, LLC                   18-11343
Paranoia Acquisitions, LLC             18-11315           RML Film Development, LLC             18-11344
Phantom Acquisitions, LLC              18-11316           RML Hector Films, LLC                 18-11345
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Relative Velocity Music, LLC           18-11318           RML November Films, LLC               18-11347
Relativity Development, LLC            18-11319           RML Oculus Films, LLC                 18-11348
Relativity Films, LLC                  18-11320           RML Romeo and Juliet Films, LLC       18-11350
Relativity Foreign, LLC                18-11321           RML Turkeys Films, LLC                18-11351
Relativity Holdings LLC                18-11322           RML WIB Films, LLC                    18-11352
Relativity Jackson, LLC                18-11323           RMLDD Financing, LLC                  18-11353
Relativity Media Distribution, LLC     18-11324           Rogue Games, LLC                      18-11354
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Relativity Music Group, LLC            18-11326           Safe Haven Productions, LLC           18-11356
Relativity Production LLC              18-11327           Snow White Productions LLC            18-11357
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